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   1 QUINN EMANUEL URQUHART
           & SULLIVAN, LLP
   2 Alex Spiro (pro hac vice)
        alexspiro@quinnemanuel.com
   3 Cory D. Struble (pro hac vice)
        corystruble@quinnemanuel.com
   4 51 Madison Avenue, 22nd Floor
     New York, New York 10010
   5 Telephone: (212) 849-7000
     Facsimile: (212) 849-7100
   6
     Robert M. Schwartz (Bar No. 117166)
   7    robertschwartz@quinnemanuel.com
     Dylan C. Bonfigli (Bar No. 317185)
   8    dylanbonfigli@quinnemanuel.com
     865 South Figueroa Street, 10th Floor
   9 Los Angeles, California 90017-2543
     Telephone: (213) 443-3000
  10 Facsimile: (213) 443-3100
  11 Attorneys for Plaintiff
  12
  13                      UNITED STATES DISTRICT COURT
  14        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  15
  16 SHAWN CARTER, also known as              Case No. 2:21-cv-04848-PA-KS
     JAY-Z, an individual,
  17                                          PLAINTIFF’S MOTION IN LIMINE
                  Plaintiff,                  NO. 1 (COPYRIGHT);
  18                                          DECLARATION OF DYLAN C.
           v.                                 BONFIGLI
  19
     JONATHAN MANNION, an                     The Honorable Percy Anderson
  20 individual, and JONATHAN
     MANNION PHOTOGRAPHY LLC, a               Date:      July 11, 2022
  21 New York limited liability company,      Time:      1:30 p.m.
                                              Courtroom: 9A
  22              Defendants.
                                              Trial Date: July 19, 2022
  23
  24
  25          REDATED VERSION OF DOCUMENT PROPOSED TO BE
  26                       FILED UNDER SEAL
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                                                                Case No. 2:21-cv-04848-PA-KS
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   1 TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
   2         PLEASE TAKE NOTICE that on July 11, 2022, at 1:30 p.m. or as soon as the
   3 matter may be heard, in Courtroom 9A of the above-titled Court, located at 350 W.
   4 1st Street, Los Angeles, California 90012, Plaintiff Shawn Carter will, and hereby
   5 does, move in limine for an order excluding any argument, testimony, or evidence
   6 regarding Defendants’ claim that Defendant Mannion is the owner of the copyright
   7 in photos of Jay-Z, including any assertions that Defendants granted copyright
   8 licenses to Plaintiff or nonparties.
   9         This motion is based on the grounds that the question of whether Defendant
  10 Mannion owns any interest in the copyright to any photograph, and any issues
  11 related to any such copyright interest, are not relevant to any claim or defense in this
  12 right-of-publicity case, see Fed. R. Evid. 401, 402, and will serve only to confuse
  13 the fact-finder and prejudice Plaintiff. See Fed. R. Evid. 403.
  14         The documentary evidence subject to this motion includes: JX-14, JX-232,
  15 JX-238, JX-241, JX-242, JX-243, JX-244, JX-245, JX-246, JX-247, JX-248, JX-
  16 249, JX-250, JX-275, JX-277, JX-278, JX-301.
  17         The deposition evidence includes: Kempler Tr. 25:6-26:4, 26:17-27:17,
  18 45:23-45:25, 46:2-46:5, 51:6-51:12, 52:8-24, 54:25-55:8, 58:15-20, 55:21-56:15,
  19 57:16-25, 58:2-22, 59:10-20; 60:6-9, 62:23-25, 63:5-22, 63:23-64:15, 65:1-12, 66:3-
  20 7, 67:24-68:17, 70:10-70:12, 72:1-21, 76:1-18, 77:25-78:2, 78:9-20, 79:10-14,
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  23 91:20-92:1, 92:13-93:1, 105:21-106:10, 106:15-106:23, 108:5-108:10, 110:4-
  24 110:14; and Patrick Tr. 29:11-15, 30:10-31:20, 34:13-35:25, 40:3-41:12, 42:14-24;
  25 43:1-16, 44:4-45:10, 46:21-47:19, 50:11-23, 51:1-52:25, 53:1-5, 53:13-24, 54:9-15,
  26 54:16-57:15, 57:17-58:4, 58:5-60:25, 61:22-62:1, 61:2-6, 66:10-20, 71:10-12,
  27 71:19-72:1.
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   1        This motion is based on this notice; the memorandum of points and
   2 authorities; the declaration of Dylan C. Bonfigli; all pleadings, records, and papers
   3 on file in this action; such other matters of which this Court may take judicial
   4 notice; and upon such other evidence and oral argument as may be considered by the
   5 Court before or at the hearing on this application.
   6        This motion is made following a conference of counsel pursuant to Local
   7 Rule 7-3 and Section II.B of this Court’s Civil Trial Scheduling Order (ECF No.
   8 52), which took place on May 20, 2022.
   9
  10 DATED: June 17, 2022                  QUINN EMANUEL URQUHART
                                               & SULLIVAN, LLP
  11
  12
                                           By /s/ Robert M. Schwartz
  13
                                              Alex Spiro (pro hac vice)
  14                                          Robert M. Schwartz
  15                                          Cory D. Struble
                                              Dylan C. Bonfigli
  16                                          Attorneys for Plaintiff
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   1 I.      PRELIMINARY STATEMENT
   2         Plaintiff Shawn Carter, p/k/a Jay-Z, moves to exclude any argument,
   3 testimony, or evidence regarding Defendants’ claim that Defendant Mannion is the
   4 owner of the copyright in photos of Jay-Z, including any assertions that Defendants
   5 granted copyright licenses to Plaintiff or nonparties. The question of whether
   6 Defendant Mannion owns any interest in the copyright to any photograph, and any
   7 issues related to any such copyright interest, are not relevant to any claim or defense
   8 in this right-of-publicity case. Evidence regarding copyright ownership and
   9 licensing will serve only to confuse the fact-finder and prejudice Plaintiff.
  10         Such evidence would also require a distracting and prejudicial trial-within-a-
  11 trial regarding whether Mannion actually owns any copyrights, as he cannot satisfy
  12 his burden of proving he does and Defendants’ evidence establishes a pattern and
  13 practice of transferring copyright to Plaintiff’s former record label, Def Jam.
  14 II.     THE COURT SHOULD EXCLUDE EVIDENCE AND ARGUMENT
  15         REGARDING DEFENDANTS’ CLAIM TO COPYRIGHT IN THE
  16         PHOTOS OF THE PLAINTIFF
  17         This is a right-of-publicity case alleging statutory and common law claims of
  18 misappropriation of Jay-Z’s name, image, and likeness (“NIL”). There are no
  19 claims for copyright infringement. Whether Mannion, Jay-Z, or Jay-Z’s record label
  20 own the copyrights in the photos at issue has no bearing on whether Mannion
  21 violated Jay-Z’s right of publicity. “[T]he rights [of publicity] [Jay-Z] seek[s] to
  22 assert in the present case are fundamentally different from those protected by the
  23 Copyright Act.” In re NCAA Student-Athlete Name & Likeness Licensing Litig., 990
  24 F. Supp. 2d 996, 1008 (N.D. Cal. 2013); Muirbrook v Skechers USA Inc., CV 12-
  25 8762 GAF PLAX, 2012 WL 5456402, at *1 (C.D. Cal. Nov. 6, 2012) (“The issue
  26 here is not ownership of the photographs—Plaintiff claims none—or Defendants’
  27 alleged use of any copyrighted material owned by Plaintiff. Rather, this lawsuit
  28 focuses on the misappropriation of Plaintiff’s right of publicity and control over the
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   1 use of his likeness.”). Indeed, Defendants themselves initially sought to exclude
   2 evidence pertaining to copyright ownership, contending that copyright is “a different
   3 right entirely” from the right of publicity, and that “[t]here is a significant risk that
   4 the jury would confuse” the two. (Bonfigli Dec. Ex. B at 4.)
   5         Allowing evidence of copyright ownership will risk confusing issues and will
   6 prejudice Plaintiff. The factfinder could be misled into believing that ownership of
   7 copyright carries legal significance when it does not. The pertinent inquiry is
   8 whether Mannion used Jay-Z’s NIL without his permission. The copyright status of
   9 the photos at issue plays no role in that analysis.
  10         Were Mannion allowed to introduce evidence that he was the copyright
  11 owner, that evidence would necessarily be subject to rebuttal evidence
  12 demonstrating that he is not. For instance, the record is clear that Mannion and Jay-
  13 Z’s record label, Def Jam, had a pattern and practice of entering into a standard
  14 template agreement whereby Mannion agreed that all copyrights in promotional
  15 photos taken of Jay-Z belonged to Def Jam. (E.g., Bonfigli Dec. Exs. F at 2.) Def
  16 Jam’s lawyer at the time testified that, as a matter of routine practice, photography
  17 agreements were not subject to negotiation and that it would have been “a poorly
  18 received anomaly” if Def Jam had hired Mannion without having the standard
  19 agreement in place. (Kempler Tr. [Bonfigli Dec. Ex. C] 101:9-14.) Allowing
  20 irrelevant evidence concerning copyright will therefore necessarily require “a mini
  21 trial within a trial” that “risks confusion of the issues, misleading the jury, and waste
  22 of time.” Galindo v Tassio, 2014 WL 12693525, at *2 (N.D. Cal. June 19, 2014).
  23         This motion also encompasses any evidence that Mannion purported to grant
  24 licenses to copyrights in photos of Jay-Z to nonparties or Jay-Z or his companies.
  25 Whether Mannion did so is similarly irrelevant to the issues in dispute for the
  26 reasons stated above, and as Plaintiff has made clear to Defendants, he does not seek
  27 redress for such licensing of copyrights. ECF No. 94 at 26 n.5 (“Jay-Z does not
  28 seek to prevent Mannion from licensing the copyrights to any photos.”).
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   1         Evidence of Mannion’s copyright licensing includes not only the license
   2 agreements themselves but any evidence pertaining to, for example, Mannion’s
   3 licensing of copyrights to Kareem Burke. That Burke used the Jay-Z photos in
   4 connection with an event (called “Apartment 4B”) to celebrate the 25th anniversary
   5 of the Reasonable Doubt album’s release does not bear on the statute of limitations.
   6 Burke’s uses of Jay-Z’s NIL, in the absence of a license from Mannion to use Jay-
   7 Z’s NIL, is not probative of whether Jay-Z knew Mannion was exploiting Jay-Z’s
   8 NIL. In fact, it proves the opposite.
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  14                                                    Moreover, the record is clear that
  15 Jay Z did not object to Burke—a Jay-Z friend and at times business partner—
  16 making limited use of his NIL in connection with the 25th anniversary celebration of
  17 Reasonable Doubt. (Perez Tr. [Bonfigli Dec. Ex. D] 122:13-23 (“Jay definitely
  18 approved for [Burke] to do whatever [he] was doing,” including “the Apartment 4B
  19 show”)].)
  20         Nor do any other licenses support Mannion’s statute of limitations defense.
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  27                                                                                     So, to the
  28 extent Plaintiff had access to these agreements, nothing about them would have put
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   1 Plaintiff on notice that Mannion was exploiting his NIL. Similarly, to the extent
   2 Mannion granted copyright licenses to Jay-Z or his companies, that too is irrelevant
   3 to the statute of limitations because Mannion cannot explain why that activity would
   4 put Jay-Z on notice that Mannion was exploiting his NIL in sales of prints and
   5 merchandise.
   6 III.   CONCLUSION
   7        The Court should exclude any argument, testimony, or evidence regarding
   8 Defendants’ claim that Defendant Mannion is the owner of the copyright in photos
   9 of Jay-Z, including any assertions that Defendants granted copyright licenses to
  10 Plaintiff or nonparties.
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    1                            DEFENDANTS’ OPPOSITION
    2 I.      INTRODUCTION
    3         Plaintiff’s Motion in Limine No. 1 should be denied in its entirety. As an
    4 initial matter, Plaintiff has ignored the Civil Trial Scheduling Order’s limitation of
    5 four motions in limine per side. Plaintiff is filing three other motions in limine. And
    6 with this Motion, he is shoehorning three distinct categories of evidence—(1)
    7 Defendants’ ownership of the copyrights in the photographs at issue (“Disputed
    8 Photos”); (2) Defendants’ licensing of the Disputed Photos to Plaintiff, his related
    9 companies, and third parties; and (3) the Apartment 4B event—into Plaintiff’s
   10 fourth and final motion in limine.s
   11         In any case, those three categories are highly relevant to the lack-of-consent
   12 element of Plaintiff’s claims, to Defendants’ laches defense, and to rebut Plaintiff’s
   13 contention that he owns the copyrights. Critically, Plaintiff’s counsel recently
   14 confirmed that he seeks damages from Defendants’ licensing activity:
   15               We are seeking the following relief: . . .
                    2. Damages in the form of: (a) Defendants’ revenues from
   16
                    any uses of Plaintiff’s NIL, including revenues Defendants’
   17               received from licensing third parties the right to make any
                    uses of any photograph in which Plaintiff’s NIL is visible[.]
   18
   19 Miyake Decl. Ex. A (Plaintiff’s counsel’s June 2, 2022 email) (emphasis added). He
   20 cannot argue that licensing, which he put directly at issue, is prejudicial.
   21         Accordingly, this Motion should be denied.
   22 II.     RELEVANT BACKGROUND
   23         A.    Defendants’ Photographs of Plaintiff
   24         In 1996, Plaintiff, Kareem Burke, and Damon Dash co-founded Roc-a-fella
   25 Records. Miyake Decl. Ex. B (“Burke Dep. Tr.”) at 29:12-30:12. That year, Roc-a-
   26 fella Records released Plaintiff’s debut album, Reasonable Doubt. Id. at 32:8-14;
   27 First Am. Compl. (ECF 15) ¶ 12. Defendant Jonathan Mannion was the
   28 photographer at the Reasonable Doubt photoshoot, where he created photographs
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    1 that would be used for the album. Miyake Decl. Ex. C (“Carter Dep. Tr.”) at 87:1-
    2 21. The Disputed Photos include three images from the Reasonable Doubt
    3 photoshoot. Mannion Decl. in Supp. of Defs.’ Mot. in Limine (June 3, 2022) ¶¶ 3-9.
    4 Over the years, Mr. Mannion created more photographs of Plaintiff, some of which
    5 were used for Plaintiff’s other albums. First Am. Compl. ¶ 21.
    6         Since 2006, Defendants have openly licensed Mr. Mannion’s photographs of
    7 Plaintiff to others for a fee. For example, on three occasions from 2006 to 2009,
    8 Plaintiff and S. Carter Enterprises, a company that handles Plaintiff’s personal
    9 affairs, separately licensed or sought a license for some of the Disputed Photos from
   10 Defendants. See Carter Dep. Tr. at 147:24-149:15; Miyake Decl. Ex. H; Miyake
   11 Decl. Ex. D (“Perez Dep. Tr.”) at 22:18-25; Mannion Decl. in Supp. Resp. to Pl.’s
   12 Mot. in Limine (June 10, 2022) Ex. B. Companies affiliated with Plaintiff—such as
   13 Plaintiff’s music and management company, Roc Nation—have also licensed or
   14 sought licenses from Defendants. Mannion Decl. in Supp. Resp. to Pl.’s Mot. in
   15 Limine (June 10, 2022) Ex. C.
   16         B.    Apartment 4B
   17         In 2016, Mr. Burke hosted a “pop-up” event at a Los Angeles venue called
   18 Apartment 4B to celebrate the 20th anniversary of Reasonable Doubt. Burke Dep.
   19 Tr. 87:21-88:5, 96:11-99:10, 109:18-21. He obtained from Defendants prints of
   20 photographs from the Reasonable Doubt photoshoot, including several of the
   21 Disputed Photos, to display at the event. Id. at 108:14-109:17, 110:2-14, 125:23-
   22 126:20, 129:1-130:11, Ex. 11; Carter Dep. Tr. 209:19-210:10. Shirts featuring
   23 photographs from the Reasonable Doubt photoshoot, which Mr. Burke licensed
   24 from Defendants, were sold at the event. Burke Dep. Tr. 96:25-97:21, 131:11-
   25 132:24.
   26         Plaintiff attended the Apartment 4B event for one to two hours. Id. at 113:5-
   27 13. He never objected to the prints on display that included some of the Disputed
   28 Photos or to the sale of shirts with photographs licensed from Defendants. Id. at
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    1 113:21-25, 115:4-18; Carter Dep. Tr. 209:19-211:3, Miyake Decl. Ex. J. In fact,
    2 Plaintiff saw Mr. Burke wearing one of the shirts and did not object to that use of
    3 Defendants’ photograph. Burke Dep. Tr. 117:3-118:4; Carter Dep. Tr. 208:12-209:7;
    4 Miyake Decl. Ex. I.1 The reason was that Plaintiff’s “thinking of this was Mr.
    5 Mannion was -- had the negatives and was creating images and maybe getting paid.
    6 [Plaintiff] didn’t -- [he] would have no reason to send [Mr. Mannion] anything to
    7 say stop doing anything.” Carter Dep. Tr. 209:8-16 (emphasis added).
    8         In November 2018, Mr. Mannion and Circle of Success, LLC, a different
    9 company of Mr. Burke, entered a Confidential Settlement and License Agreement.
   10 Bonfigli Decl. Ex. I. This agreement was entered over two years after the Apartment
   11 4B event and has nothing to do with that event. See id. In the agreement, however,
   12 Mr. Mannion licensed several of the Disputed Photos to Mr. Burke to use on
   13 clothing. Id. Ex. I ¶ 3.a. & Sched. A. Plaintiff obtained a copy of the agreement and
   14 objected to Mr. Burke’s use of irrelevant photographs, but not to the use of the
   15 Disputed Photos, and Plaintiff never made an objection to Defendants. See Miyake
   16 Decl. Ex. O; Perez Dep. Tr. 68:17-70:3.
   17         C.    The Pre-Litigation Negotiation
   18         On May 17, 2021, before this action was filed, Plaintiff’s lawyer Ryan
   19 Klarberg of Pryor Cashman LLP reached out to Defendants to discuss Plaintiff’s
   20 interest in another “potential licensing arrangement” with Defendants. Miyake Decl.
   21 Ex. K; id. Ex. E (Davidov Dep. Tr.) at 116:20-117:11. Defendants’ licensing agent,
   22 Uri Davidov, and Mr. Klarberg negotiated options for Plaintiff to license
   23 photographs of Plaintiff from Defendants for five years. Id. Ex. K.
   24
   25
   26   1
       Exhibits I and J of the Miyake Declaration are screenshots from Joint Exhibit 10, a
   27 video that Fourth of November, one of Mr. Burke’s companies, put together about
   28 the Apartment 4B event. Burke Dep. Tr. 104:11-105:4, 106:7-108:6.
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    1        Plaintiff later wanted, instead, to purchase the photographs, and negotiations
    2 continued into mid-June 2021. On June 13, 2021, Brad Rose of Pryor Cashman LLP
    3 emailed Defendants’ representatives because he believed the parties reached a deal
    4 for Defendants to sell to Plaintiff the entire Reasonable Doubt portfolio. See Perez
    5 Dep. Tr. at 225:2-226:1, Ex. 49. But the parties actually disagreed as to what
    6 photographs would be sold and the price. Miyake Decl. Ex. G at 1-3; id. Ex. F
    7 (Santiago Dep. Tr.) at 176:21-186:17. When Defendants refused Plaintiff’s terms,
    8 Plaintiff concocted this lawsuit and filed it on June 15, 2021. See id. Ex. G at 4-5.
    9        D.     This Lawsuit
   10        Plaintiff contends that he became aware that Defendants were using his name,
   11 image, or likeness no earlier than May 2021. Miyake Decl. Ex. N at 8-10
   12 (interrogatory nos. 7-11). His right-of-publicity claims concern the Disputed Photos:
   13 (1) the “Got You All in Check” photograph (1995); (2) the Reasonable Doubt cover
   14 photograph (1996); (3) the “Beyond a Reasonable Doubt” photograph (1996), also
   15 from the Reasonable Doubt photoshoot; (4) the Reasonable doubt slipmat photo
   16 (1996), also from the Reasonable Doubt photoshoot; (5) the “Chess Not Checkers”
   17 photograph (1998); (6) the “New Blue Yankee” photograph (1998); (7) the “Last
   18 Laugh” photograph (2002); and (8) the “Fame Wall” photograph (2021).
   19 Mannion Decl. in Supp. of Defs.’ Mot. in Limine (June 3, 2022) ¶¶ 3-9.
   20        Plaintiff’s purpose in filing this lawsuit is “[t]o make a clear record that [he]
   21 own[s] the images.” Carter Dep. Tr. 213:14-215:15. As Plaintiff explains:
   22               I created this -- these works, this imaging, the music, the
                    lyrics. . . .
   23
                    How could [Mr. Mannion] own these images? He didn’t
   24               even understand why these things came to be. . . .
                    He couldn’t explain them to you, but he’ll make -- he’ll
   25
                    make claims that -- you know, that these images are his? . . .
   26               I want the record to show that I own these photographs
                    because I do.
   27
   28
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    1 Id. Despite conceding that no written contract applies to photographs from the
    2 Reasonable Doubt photoshoot (id. at 99:8-23) and failing to produce in discovery
    3 any contract that applies to any of the Disputed Photos, Plaintiff’s representatives
    4 contend that Mr. Mannion created the photographs under a “work for hire”
    5 arrangement (Perez Dep. Tr. 81:11-83:21).
    6        The relief that Plaintiff seeks include (1) a permanent injunction barring
    7 Defendants from any uses of any photo including Plaintiff’s name, image, or
    8 likeness, without Plaintiff’s permission; (2) damages from Defendants’ profits
    9 generated from any uses of the Disputed Photographs, including licenses of the
   10 copyrights to third parties; and (3) damages based on a hypothetical license fee that
   11 Plaintiff contends Defendants would have had to pay to use his name or likeness.
   12 See Miyake Decl. Ex. A.
   13        E.     Discovery Concerning Island Def Jam
   14        Six photography agreements between Defendants and Island Def Jam (“IDJ
   15 Agreements”) were produced in this lawsuit. See Mannion Decl. in Supp. of Defs.’
   16 Mot. in Limine (June 3, 2022) Exs. A-F. None of the IDJ Agreements apply to the
   17 Disputed Photos. Id. ¶¶ 11-16. No other photography agreement with Island Def
   18 Jam has been located and produced in discovery.
   19        Jeffrey Kempler was an attorney at Island Def Jam from 2000 to 2004
   20 (Miyake Decl. Ex. L (“Kempler Dep. Tr.”) at 23:22-24:3), overlapping with none of
   21 the Disputed Photos except for the “Last Laugh” photograph. At deposition, Mr.
   22 Kempler testified that he did not recall the IDJ Agreements at all, much less what
   23 photographs or photoshoots the IDJ Agreements applied to. Kempler Dep. Tr.
   24 57:14-25, 63:23-64:9, 70:25-72:16, 78:9-20, 80:22-81:5, 83:23-84:5, 84:21-85:6. He
   25 also did not know whether additional contracts between Defendants and Island Def
   26 Jam ever existed. Id. at 84:21-85:6, 88:7-16. Mr. Kempler made clear that that he
   27 “generally ha[s] a lack of recollection about the dealings between Island Def Jam
   28 and Jonathan Mannion when it comes to photography agreements.” Id. at 88:7-16.
                                            -9-                Case No. 2:21-cv-04848-PA-KS
                                                                  PLAINTIFF ’S M OTION I N LIMINE NO. 1
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    1 III.    THIS MOTION VIOLATES THE FOUR-MOTION LIMIT
    2         The Motion violates Section II.B.2. of the Civil Trial Scheduling Order,
    3 which limits each party to four motions in limine. Plaintiff is separately filing three
    4 other motions in limine. This Motion, however, is actually three additional motions,
    5 covering (1) Defendants’ copyrights in the Disputed Photos; (2) Defendants’
    6 licensing the photographs to Plaintiff, his related companies, and third parties; and
    7 (3) the Apartment 4B event. Plaintiff should not be permitted to skirt the four-
    8 motion limit by shoehorning three distinct categories into a single motion in limine.
    9 IV.     LICENSING AND APARTMENT 4B ARE RELEVANT
   10         Evidence regarding Defendants’ licensing of the Disputed Photos and the
   11 Apartment 4B event are relevant to various issues in this lawsuit.
   12               1.     Plaintiff Has Put Licensing Directly at Issue
   13         There is no dispute that Defendants’ licensing of the Disputed Photos is
   14 relevant to Plaintiff’s request for damages from Defendants’ licensing revenue. See
   15 Miyake Decl. Ex. A. Having put licensing directly at issue, Plaintiff cannot now
   16 contend that the subject would confuse the jury or prejudice him.
   17               2.     Lack of Consent
   18         Additionally, Defendants’ licensing activity and the Apartment 4B event are
   19 relevant to the lack-of-consent element of Plaintiff’s right-of-publicity claims. See
   20 Downing v. Abercrombie & Fitch, 265 F.3d 994, 1001 (9th Cir. 2001) (explaining
   21 that common law and Cal. Civ. Code § 3344 right-of-publicity claims require
   22 proving lack of consent). “Consent to use a name or likeness need not be express or
   23 in writing, but it may be implied from the consenting party’s conduct and the
   24 circumstances of the case.” Jones v. Corbis Corp., 815 F. Supp. 2d 1108, 1113
   25 (C.D. Cal. 2011), aff’d, 489 F. App’x 155 (9th Cir. 2012) (finding decades of
   26 nonobjection constituted implied consent).
   27         Here, Defendants’ licensing activity and the Apartment 4B event make
   28 Plaintiff’s implied consent to the uses of the Disputed Photos even more apparent.
                                                 -10-                Case No. 2:21-cv-04848-PA-KS
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    1 For at least 25 years, Defendants openly exploited the Disputed Photos, and Plaintiff
    2 has had to seek licenses from Defendants to use the images for his purposes. The
    3 pre-litigation negotiation in May and June 20021 is a continuation of Plaintiff’s
    4 acknowledgment that Defendants did not need his permission to use the Disputed
    5 Photos. Indeed, had Plaintiff actually objected to Defendants’ uses of the Disputed
    6 Photographs, the pre-litigation negotiation would certainly have proceeded
    7 differently, as Plaintiff contends he learned about Defendants’ uses in May 2021.
    8 But he never sent a cease-and-desist letter or otherwise discussed his then-unfiled
    9 claims while the parties were working on a business deal.
   10         Similarly, while at the Apartment 4B event in 2016, Plaintiff saw but did not
   11 object to prints and shirts featuring Defendants’ photographs of him. Nor did
   12 Plaintiff object to the uses in the Circle of Success agreement. It is only through this
   13 lawsuit that Plaintiff did an about-face and claim that those uses caused him harm.
   14 But Plaintiff’s many years of not objecting, and of affirmatively licensing from
   15 Defendants, show that he cannot prove the lack-of-consent element of his claims.
   16                3.    Laches
   17         Defendants’ copyrights and licensing activity and the Apartment 4B event are
   18 also relevant to Defendants’ laches defense. This defense requires showing (a) an
   19 unreasonable delay by Plaintiff and (b) prejudice to Defendants. Danjaq LLC v.
   20 Sony Corp., 263 F.3d 942, 951 (9th Cir. 2001). As with lack of consent, Defendants’
   21 retaining the right to exploit the Disputed Photos and Plaintiff’s knowledge but
   22 failure to object to the uses for many years establish the first element of laches.
   23 V.      EVIDENCE OF DEFENDANTS’ COPYRIGHTS IS NEEDED
   24         To bolster his case, Plaintiff contends that he owns the Disputed Photos
   25 simply because they relate to his music. See Carter Dep. Tr. 213:14-215:15 (“I
   26 created this -- these works, this imaging, the music, the lyrics. . . . I want the record
   27 to show that I own these photographs because I do.”) Defendants should be
   28
                                                  -11-                   Case No. 2:21-cv-04848-PA-KS
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    1 permitted to present contrary evidence of their copyright ownership. Other than for
    2 rebuttal, Defendants do not otherwise intend to offer evidence of their copyrights.
    3         To be sure, Plaintiff cannot seriously contest Defendants’ copyright
    4 ownership. He points to two categories of evidence that supposedly show
    5 Defendants transferred away their copyrights: (1) the IDJ Agreements and (2) Mr.
    6 Kempler’s testimony. Neither supports Plaintiff’s position at all.
    7         1. The IDJ Agreements. Recognizing that the IDJ Agreements are irrelevant,
    8 Plaintiff contends that they show Defendants and Island Def Jam had a “pattern and
    9 practice” of entering similar contracts that apply to the Disputed Photos. See Mot.
   10 2:12-15. But this begs the question. In any case, Plaintiff conceded that there was no
   11 contract for the Reasonable Doubt shoot. See Carter Dep. Tr. 99:8-23. There is no
   12 evidence that any of the IDJ Agreements pertain to any of the Disputed Photos. And
   13 there is no evidence that other photography contracts with Island Def Jam existed.
   14         2. Mr. Kempler’s Testimony. Mr. Kempler’s testimony has no bearing on
   15 Defendants’ copyrights in the Disputed Photos. The sole statement Plaintiff cites in
   16 the Motion is not about either party, but about a hypothetical photographer and
   17 recording artist. See Bonfigli Decl. Ex. D at 101:9-14. In fact, Mr. Kempler lacks
   18 knowledge about dealings involving Defendants. Kempler Dep. Tr. 88:7-16.
   19         In short, Plaintiff lacks evidence to dispute Defendants’ copyrights in the
   20 Disputed Photos. Allowing evidence of Defendants’ copyright ownership will
   21 therefore not require a “mini trial within a trial.”
   22 VI.     CONCLUSION
   23         The Court should deny Plaintiff’s Motion in Limine No. 1 in its entirety.
   24
   25 DATED: June 17, 2022                   WILLENKEN LLP
   26
                                             By /s/ Paul J. Loh
   27                                           Paul J. Loh
   28                                           Attorneys for Defendants
                                                 -12-                  Case No. 2:21-cv-04848-PA-KS
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    1                                 PLAINTIFF’S REPLY
    2        Defendants do not dispute, as they previously argued before reversing course,
    3 that copyright is “a different right entirely” from right of publicity and that “[t]here
    4 is a significant risk that the jury would confuse” the two. Supra at 2, quoting
    5 Bonfigli Dec. Ex. B at 4. Instead, they offer invalid relevance arguments to mask
    6 the obvious prejudice of injecting copyright into this right-of-publicity trial. First,
    7 they contend Plaintiff put the matter at issue by asserting ownership of the photos.
    8 But Defendants never raised this in meet-and-confer, and Defendants are referring to
    9 deposition testimony they elicited from Plaintiff. Plainly, by this motion Plaintiff
   10 seeks to exclude any evidence of copyright, regardless who the owner may be.
   11 Second, Defendants claim copyright is relevant to laches, but they have since
   12 abandoned that defense. Third, Defendants claim their licensing of copyright to
   13 Plaintiff and others shows that Plaintiff consented to Defendants’ sale of Jay-Z
   14 prints and merchandise to the public. Defendants offer no cognizable link between
   15 the two; that Plaintiffs sought copyright licenses from Defendants for his own use of
   16 the photos says nothing of whether he authorized Defendants’ exploitation of his
   17 publicity rights. Finally, Defendants claim Plaintiff will seek damages based on
   18 licensing revenue. But that is no basis to permit evidence of copyright ownership.
   19 In any event, Plaintiff will not seek this category of damages if the Court agrees that
   20 copyright, including copyright licensing, is irrelevant and therefore inadmissible.
   21        A.     Plaintiff’s motion does not violate the four-motion limit.
   22        Contrary to Defendants’ assertions, Plaintiff’s four-page initial motion is not
   23 three motions in one. Plaintiff seeks to exclude evidence of copyright from trial,
   24 which necessarily encompasses any evidence about ownership of copyright,
   25 including rights attendant to ownership such as licensing of copyright (including any
   26 licensing to third-party Kareem Burke regarding the Apartment 4B event). As
   27 Plaintiff demonstrated, evidence of copyright has no place in this right-of-publicity
   28
                                                 -13-                   Case No. 2:21-cv-04848-PA-KS
                                                                    PLAINTIFF ’S M OTION I N LIMINE NO. 1
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    1 case. If the Court agrees, all evidence regarding copyright, including the licensing
    2 of copyrights, should be excluded.
    3         B.     Defendants licensing of copyrights does not show consent.
    4         Defendants contend that their copyright licensing is relevant to consent.
    5 Supra at 10-11. It is not. Plaintiff demonstrated, and Defendants did not address,
    6 that “[t]he rights [of publicity] [Plaintiff] seek[s] to assert in the present case are
    7 fundamentally different from those protected by the Copyright Act.” In re NCAA,
    8 990 F. Supp. 2d at 1008. Defendants agreed with that position before Plaintiff filed
    9 this motion, stating that their “copyrights” and “Plaintiff’s at-issue right of
   10 publicity” are “different right[s] entirely.” Bonfigli Dec. Ex. B at 4. Defendants
   11 make no attempt to reconcile their current position with their prior one.
   12         In any event, Plaintiff’s knowledge of Defendants licensing copyright to him
   13 or others has no bearing on whether Plaintiff consented to Defendants’ use of his
   14 NIL, the basis for this lawsuit. Defendants explicitly excluded Plaintiff’s right of
   15 publicity from such licenses. Supra at 3. Thus, even if Plaintiff knew of them, he
   16 had no reason to suspect Defendants were granting his NIL rights to others, or
   17 selling unauthorized Jay-Z merch.
   18         With respect to the Apartment 4B event in particular, contrary to Defendants’
   19 assertions, the event is not relevant to their “consent” defense. Kareem Burke, one
   20 of the founders of Roc-A-Fella Records, hosted the event—not Defendants. Burke,
   21 not Defendants, sold shirts bearing Plaintiff’s likeness at the event. And Plaintiff
   22 “approved” of Burke doing so. Perez Tr. (Bonfigli Dec. Ex. D) at 122:13-23. That
   23 Plaintiff approved of Burke’s use of photos from the Reasonable Doubt shoot, some
   24 of which include Burke, does not show that Plaintiff approved of Defendants’ use of
   25 those photos.
   26         C.     Plaintiff did not place copyright licensing at issue.
   27         Defendants’ argument that Plaintiff placed copyright licensing “at issue” is
   28 wrong. Supra at 10. Plaintiff proposed to not seek any damages based on licensing
                                              -14-                Case No. 2:21-cv-04848-PA-KS
                                                                      PLAINTIFF ’S M OTION I N LIMINE NO. 1
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    1 if Defendants agreed to not present evidence of licensing. Bonfigli Dec. ¶ 16.
    2 Defendants rejected that proposal. Id. If the Court denies this motion and agrees
    3 that Defendants’ licensing activities implicate Plaintiff’s right of publicity, Plaintiff
    4 will seek damages based on those activities. If the Court grants this motion,
    5 Plaintiff will not pursue damages based on licensing activities.
    6         D.     Defendants’ “laches” argument is moot.
    7         Defendants abandoned their laches defense, Dkt. 148 at 2, mooting their
    8 argument that their copyright licensing activity and the Apartment 4B event are
    9 relevant to that defense. Supra at 11.
   10         E.     Plaintiff will present evidence of copyright ownership only to rebut
   11                Defendants’ assertions of copyright ownership.
   12         Finally, Defendants assert that evidence of copyright ownership is “needed”
   13 to rebut Plaintiff’s testimony that he owns the photos at issue. Supra at 11. During
   14 the meet-and-confer, Defendants never raised this as a basis to introduce copyright
   15 evidence at trial. Had they, Plaintiff would have made clear he has no plan to
   16 introduce such testimony. In fact, Plaintiff has moved to exclude all evidence of
   17 copyright ownership. Supra at 1. If this motion is granted, Plaintiff will not present
   18 evidence of copyright ownership. The only reason Plaintiff would do so is to rebut
   19 Defendants’ assertions that they hold the copyright to the photos at issue. Supra at
   20 12 (“Plaintiff cannot seriously contest Defendants’ copyright ownership”).
   21 Defendants do not “need[]” to put on evidence to rebut assertions that Plaintiff will
   22 not make at trial.2
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         Defendants misrepresent Plaintiff’s testimony in arguing that he “conceded that
      there was no contract for the Reasonable Doubt shoot.” Supra at 12. Plaintiff
   27 testified that he did not know if there was a written contract and that he did not
   28 know who to ask about that. Carter Tr. (Bonfigli Dec. Ex. K) at 99:8-23.
                                                -15-                   Case No. 2:21-cv-04848-PA-KS
                                                                     PLAINTIFF ’S M OTION I N LIMINE NO. 1
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 21 of 88 Page ID #:6020




    1                                   CONCLUSION
    2        The Court should exclude any argument, testimony, or evidence regarding
    3 Defendants’ claim that Defendant Mannion is the owner of the copyright in photos
    4 of Jay-Z, including any assertions that Defendants granted copyright licenses to
    5 Plaintiff or nonparties.
    6
    7 DATED: June 17, 2022                 QUINN EMANUEL URQUHART
                                               & SULLIVAN, LLP
    8
    9
                                           By /s/ Robert M. Schwartz
   10
                                              Alex Spiro (pro hac vice)
   11                                         Robert M. Schwartz
   12                                         Cory D. Struble
                                              Dylan C. Bonfigli
   13                                         Attorneys for Plaintiff
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                                               -16-                  Case No. 2:21-cv-04848-PA-KS
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    1                     DECLARATION OF DYLAN C. BONFIGLI
    2         I, Dylan C. Bonfigli, declare as follows:
    3         1.     I am an attorney admitted to practice before this Court. I am associated
    4 with Quinn Emanuel Urquhart & Sullivan, LLP, counsel of record for Plaintiff
    5 Shawn Carter, professionally known as Jay-Z. I make this declaration in support of
    6 the Joint Motion in Limine No. 1. I make this declaration on personal, firsthand
    7 knowledge, and if called and sworn as a witness, I could and would testify
    8 competently to the facts set forth below.
    9         2.     The Joint Motion in Limine No. 1 seeks to exclude any argument,
   10 testimony, or evidence regarding Defendants’ claim that Jonathan Mannion is the
   11 owner of the copyright in photos of Jay-Z, including any assertions that Defendants
   12 granted copyright licenses to Plaintiff or nonparties.
   13         3.     The subject matter of the Joint Motion in Limine No. 1 has been
   14 discussed with opposing counsel, and opposing counsel has stated that such matter
   15 may be mentioned or displayed in the presence of the jury before it is admitted in
   16 evidence and has refused to stipulate that such matter will not be mentioned or
   17 displayed in the presence of the jury unless and until it is admitted in evidence.
   18       4.     Plaintiff will be prejudiced if Plaintiff’s Motion in Limine No. 1 is not
   19 granted because evidence regarding copyright is not relevant and, if presented, it
   20 will likely cause unfair prejudice to Plaintiff, confuse the issues, mislead the jury,
   21 and waste trial time. As Defendants have admitted, copyright is a “different right
   22 entirely” from Plaintiff’s at-issue right of publicity and “[t]here is a significant risk
   23 that the jury would confuse” the two.
   24        5.     Attached as Exhibit A is a true and correct copy of a letter that I sent to
   25 defense counsel on May 13, 2022.
   26       6.   Attached as Exhibit B is a true and correct copy of a letter from
   27 defense counsel, dated May 13, 2022.
   28
                                                  -17-                   Case No. 2:21-cv-04848-PA-KS
                                                                     PLAINTIFF ’S M OTION I N LIMINE NO. 1
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 23 of 88 Page ID #:6022




    1        7.     Attached as Exhibit C is a true and correct copy of excerpts from the
    2 deposition of Jeffrey Kempler taken on February 25, 2022.
    3        8.     Attached as Exhibit D is a true and correct copy of excerpts from the
    4 deposition of Desiree Perez taken on March 14, 2022.
    5        9.     Exhibit E is intentionally omitted.
    6        10.    Attached as Exhibit F is a true and correct copy of Joint Trial Exhibit
    7 2.
    8        11.    Attached as Exhibit G is a true and correct copy of Joint Trial Exhibit
    9 3.
   10        12.    Attached as Exhibit H is a true and correct copy of Joint Trial Exhibit
   11 7.
   12        13.    Attached as Exhibit I is a true and correct copy of Joint Trial Exhibit
   13 14.
   14        14.    Attached as Exhibit J is a true and correct copy of Joint Trial Exhibit
   15 91.
   16        15.    Attached as Exhibit K is a true and correct copy of relevant excerpts of
   17 the deposition transcript for Shawn Carter, taken on March 4, 2022.
   18       16. On June 10, 2022, the parties met and conferred regarding evidentiary
   19 issues. I proposed that Plaintiff would agree to not seek damages based on
   20 Defendants’ licensing activities if Defendants agreed to not present evidence of
   21 those activities. Defendants rejected the proposal.
   22
   23        I declare under penalty of perjury under the laws of the United States that the
   24 foregoing is true and correct.
   25       Executed on June 17, 2022, at Los Angeles, California.
   26
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                                                -18-                  Case No. 2:21-cv-04848-PA-KS
                                                                  PLAINTIFF ’S M OTION I N LIMINE NO. 1
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                                         By      /s/ Dylan C. Bonfigli
    3                                            Dylan C. Bonfigli
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                                                               PLAINTIFF ’S M OTION I N LIMINE NO. 1
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    1                           ATTESTATION STATEMENT
    2        I, Robert M. Schwartz, the filer of this Joint Motion in Limine, attest pursuant
    3 to Civil L.R. 5-4.3.4(a)(2) that all other signatories listed, and on whose behalf the
    4 filing is submitted, concur in the filing’s content and have authorized the filing.
    5
    6 DATED: June 17, 2022                   QUINN EMANUEL URQUHART
                                                 & SULLIVAN, LLP
    7
    8
                                             By /s/ Robert M. Schwartz
    9
                                                Robert M. Schwartz
   10                                           Attorneys for Plaintiff
   11                                         e

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                                                                   PLAINTIFF ’S M OTION I N LIMINE NO. 1
   Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 26 of 88 Page ID #:6025




                           Exhibit A
May 13, 2022 Letter from Bonfigli to Defense Counsel
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 27 of 88 Page ID #:6026



        quinn emanuel             trial lawyers | los angeles
        865 South Figueroa Street, 10th Floor, Los Angeles, California 90017-2543 | TEL (213) 443-3000 FAX (213) 443-3100




                                                                                                        WRITER'S DIRECT DIAL NO.
                                                                                                                  (213) 443-3610

                                                                                                      WRITER'S EMAIL ADDRESS
                                                                                              dylanbonfigli@quinnemanuel.com



  May 13, 2022


  VIA E-MAIL

  Paul J. Loh                                                      Steven A. Marenberg
  Lika C. Miyake                                                   Kiaura Clark
  Kenneth Michael Trujillo-Jamison                                 Paul Hastings LLP
  Willenken LLP                                                    1999 Avenue of the Stars 27th Floor
  707 Wilshire Boulevard Suite 3850                                Los Angeles, California 90067
  Los Angeles, California 90017

  Sarah C. Hsia
  Rockstone Legal
  229 West 36th Street 8th Floor
  New York, New York 10018

  Re:     Carter v. Mannion, Case No. 2:21-cv-04848-PA-KS

  Counsel:

          Pursuant to Section II.B.3 of the Court’s Civil Trial Scheduling Order (ECF No. 52), we
  write to request that the parties meet and confer regarding motions in limine Plaintiff Shawn
  Carter may file absent an agreement between the parties obviating the need to do so.

          Plaintiff’s anticipated motions in limine include:

          1.     A motion to exclude any testimony from Jeffrey Sedlik on the ground that his
  opinions are not relevant, see Fed. R. Evid. 401, and do not satisfy the requirements of Rule 702
  of the Federal Rules of Evidence and Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 589
  (1993).

          2.     A motion to exclude evidence about negotiations between Plaintiff and
  Defendants that took place in May and June of 2021 and that concerned a potential transaction
  regarding certain photographs of Plaintiff. This motion will be based on Rules 401, 403, and 408
  of the Federal Rules of Evidence.



        quinn emanuel urquhart & sullivan, llp
        ATLANTA | AUSTIN | BOSTON | BRUSSELS | CHICAGO | DOHA | HAMBURG | HONG KONG | HOUSTON | LONDON | LOS ANGELES | MANNHEIM |
        MIAMI | MUNICH | NEUILLY-LA DEFENSE | NEW YORK | PARIS | PERTH | RIYADH | SALT LAKE CITY | SAN FRANCISCO | SEATTLE | SHANGHAI |
        SILICON VALLEY | STUTTGART | SYDNEY | TOKYO | WASHINGTON, DC | ZURICH
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         3.      A motion to exclude any evidence about the copyright ownership of any of the
  photographs at issue and any evidence about Defendants’ licensing the copyright of any
  photographs of Plaintiff, including any evidence regarding the Apartment 4B popup event. This
  motion will be based on Rules 401 and 403 of the Federal Rules of Evidence.

          4.      A motion to exclude any evidence regarding Mr. Mannion’s claimed belief that
  his sale of prints and other products depicting persons, including Plaintiff, was lawful, or based
  on advice of counsel. This motion will be based on Rules 401 and 403 of the Federal Rules of
  Evidence.

           Please let us know of a few dates and times that you are available next week to discuss
  these potential motions. Plaintiff reserves the right to raise additional potential motions in limine
  in advance of any conference of counsel, including, without limitation, on the basis of other pre-
  trial disclosures.

  Best regards,




  Dylan Bonfigli




                                                   2
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                         Exhibit B
May 13, 2022 Letter from Defense Counsel to Plaintiffs
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 30 of 88 Page ID #:6029




  May 13, 2022

                                                                                            Paul J. Loh
  VIA E-MAIL ONLY                                                                           ploh@willenken.com


  Robert M. Schwartz                                  Alex Spiro
  Dylan C. Bonfigli                                   Cory Struble
  Quinn Emanuel Urquhart & Sullivan, LLP              Quinn Emanuel Urquhart & Sullivan, LLP
  865 S. Figueroa St., 10th Fl.                       51 Madison Ave., 22nd Fl.
  Los Angeles, California 90017-2543                  New York, NY 10010
  robertschwartz@quinnemanuel.com                     alexspiro@quinnemanuel.com
  dylanbonfigli@quinnemanuel.com                      corystruble@quinnemanuel.com

  Re:        Shawn Carter v. Jonathan Mannion et al., Case No.: 2:21-cv-04848-PA-KS

  Dear Counsel,

  We write pursuant to Paragraph II.B.3 of the Civil Trial Scheduling Order (“CTSO”) entered in
  this matter to request a Local Rule 7-3 conference to discuss the motions in limine that
  Defendants intend to file. Below we describe the testimony, exhibits, or other matters that will be
  the subjects of the motions in limine, and provide brief summaries of Defendants’ positions and
  the terms of the orders that Defendants will seek.

  Relatedly, as raised during the parties’ May 6, 2022 conference, the Court ordinarily permits up
  to four motions in limine to be filed per side. CTSO ¶ II.B.2. Should the parties be unable to
  resolve the issues identified below, Defendants would like to confer about whether Plaintiff will
  stipulate that the parties be permitted to file up to eight motions in limine per side.

  Absent Plaintiff’s agreement to exclude the following evidence from the trial, Defendants intend
  to file motions in limine regarding the following:

             1.    Expert Testimony of Jon Albert-Levy

  Plaintiff cannot show that Mr. Albert-Levy and his opinions meet the requirements of Federal
  Rule of Evidence 702. See Stilwell v. Smith & Nephew, Inc., 482 F.3d 1187, 1192 (9th Cir. 2007)
  (expert testimony must be reliable and helpful to fact finder). Mr. Albert-Levy does not have the
  scientific, technical, or other specialized knowledge to render an expert opinion about potential
  damages in this lawsuit. His experience with endorsement deals is not relevant to this lawsuit
  between the subject of photographs and the photographer over the use of the subject’s name,
  image, or likeness in the photographs. Thus, Mr. Albert-Levy’s opinions will not be helpful to
  the jury.

  Further, Mr. Albert-Levy’s opinions are not supported by sufficient facts or data and are not
  based on reliable principles and methods. For example, he did not review deals between




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  Page 2



  photographers and Plaintiff or other celebrities. Rather, Mr. Albert-Levy compares the selling of
  prints and physical goods on which photographs are imprinted by Defendants, who run a small
  business, with endorsement agreements requiring Plaintiff to render significant personal services
  to multimillion- or multibillion-dollar corporations. With those inapt “comps,” Mr. Albert-Levy
  makes leaps of logic to conclude that Plaintiff is somehow entitled to millions in damages.

  Defendants will move for an order to exclude the expert testimony of Mr. Albert-Levy.

             2.   Expert Testimony of Megan Mahn Miller

  Plaintiff cannot show that Ms. Mahn Miller and her opinions meet the requirements of Rule 702.
  See Stilwell, 482 F.3d at 1192. Ms. Mahn Miller does not have the scientific, technical, or other
  specialized knowledge to render an expert opinion about fine art photography or the primary
  marketability and economic value of prints of the at-issue photographs. Also, Ms. Mahn Miller’s
  experience in the memorabilia industry is not relevant to Defendants’ prints, so her opinions will
  not be helpful to the jury.

  In addition, Ms. Mahn Miller’s opinions are not supported by sufficient facts or data and are not
  based on reliable principles and methods. For example, she never conducted a study to determine
  the motivations of purchasers of prints, did not sufficiently research the markets for Defendants’
  prints and similar photographers’ prints, and did not inspect an actual print of the at-issue
  photographs before reaching her opinions. Instead, Ms. Mahn Miller relies on tautology and
  confirmation bias to reach conclusions about purchaser motivations, the appropriate market for
  Defendants’ prints, and the primary marketability and economic value of the prints.

  Defendants will move for an order to exclude the expert testimony of Ms. Mahn Miller.

             3.   Island Def Jam Photography/Illustration Agreements

  The six Photography/Illustration Agreements 1 between Mr. Mannion and Island Def Jam are not
  relevant and are not admissible. See Fed. R. Evid. 401, 402. Island Def Jam is not a party to this
  lawsuit. Moreover, the only photographs that are at issue are photographs whose prints were sold
  within the applicable limitations period and photographs that were imprinted on physical goods
  that were sold within the applicable limitations period. The Photography/Illustration Agreements
  contracts do not apply to any of those photographs.

  Moreover, the probative value, if any, of these contracts is substantially outweighed by the
  dangers of confusing the issues, misleading the jury, and causing unfair prejudice to Defendants.

  1
    The six Photography/Illustration Agreements are dated (i) July 25, 2001; (ii) January 12, 2002;
  (iii) November 13, 2002, reissued December 16, 2002; (iv) November 19, 2002, reissued
  December 16, 2002; (v) January 23, 2002; and (vi) September 30, 2003.




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  That is, there is a significant risk the jury will be confused and misled that the
  Photography/Illustration Agreements apply to the at-issue photographs, that any contractual
  provisions were breached, that Plaintiff can enforce any of Island Def Jam’s contractual rights,
  and that the Photography/Illustration Agreements have to do with Plaintiff’s right of publicity.

  Defendants will move for an order to exclude all documentary evidence, testimony, and
  argument regarding the six Photography/Illustration Agreements between Mr. Mannion and
  Island Def Jam (deposition exhibits 2-7, 22, and 107 and all other versions of these contracts).

             4.   Defendants’ Internal Communications Regarding Generating Revenue

  Communications between Mr. Mannion and the employees of Jonathan Mannion Photography
  regarding their hopes to generate revenue are not relevant and not admissible. See Fed. R. Evid.
  401, 402. Whether they desired to grow Defendants’ business has nothing to do with whether
  Defendants have the right to publish or distribute Mr. Mannion’s photographs and physical
  goods on which the photographs are imprinted.

  Furthermore, the probative value, if any, of these communications is substantially outweighed by
  the dangers of confusing the issues, misleading the jury, and causing unfair prejudice to
  Defendants. See Fed. R. Evid. 403. The internal communications among colleagues were stated
  an ironic, humorous manner. But there is a significant risk that the communications can be
  improperly used to portray Defendants as excessively greedy or willing to commit unlawful acts
  to make money, causing unfair prejudice to Defendants.

  Defendants will move for an order to exclude all documentary evidence, testimony, and
  argument regarding these internal communications regarding generating revenue
  (MANNION004495, MANNION009579, MANNION010720, MANNION008647,
  MANNION002651, MANNION003903, MANNION004100, MANNION004103,
  MANNION006365, MANNION009649, MANNION009654, MANNION009658, and all other
  versions of these documents, and any similar documents).

             5.   Pre-Litigation Negotiations

  The pre-litigation negotiations between representatives for Plaintiff and representatives for
  Defendants are not relevant and not admissible. See Fed. R. Evid. 401, 402. The negotiation
  concerned the licensing or purchase of Defendants’ copyrights, or a portion of such the rights, to
  Plaintiff. The parties were not negotiating a license for Defendants to use Plaintiff’s name,
  image, or likeness. Further, the negotiation concerned different photographs or sets of
  photographs at different times.

  In addition, the probative value, if any, of these communications is substantially outweighed by
  the dangers of confusing the issues, misleading the jury, and causing unfair prejudice to




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  Page 4



  Defendants. See Fed. R. Evid. 403. There is a significant risk that the jury would confuse
  Defendants’ copyrights that were the subject of the negotiations with Plaintiff’s at-issue right of
  publicity, a different right entirely. There is also a significant risk the jury would be misled that
  the monetary amount that Defendants requested to sell their rights have any bearing on potential
  damages in this lawsuit or indicate that Defendants had any improper motive in refusing to sell
  their rights.

  Defendants will move for an order to exclude all documentary evidence, testimony, and
  argument regarding the pre-litigation negotiation.

             6.   Plaintiff’s Deals With Puma, Tiffany & Co., and Caliva

  Endorsement and sponsorship deals between Plaintiff and Puma, Tiffany & Co. and Caliva are
  not relevant and not admissible. See Fed. R. Evid. 401, 402. The claims and defenses here
  concern Plaintiffs’ right of publicity and Defendants’ rights to distribute the at-issue photographs
  that Mr. Mannion authored and physical goods on which those photographs were imprinted.
  Sponsorship and endorsement deals requiring Plaintiff to provide extensive personal services to
  multimillion- or multibillion-dollar corporations, are not relevant.

  Moreover, the probative value, if any, of these deals is substantially outweighed by the dangers
  of confusing the issues, misleading the jury, and causing unfair prejudice to Defendants. See Fed.
  R. Evid. 403. There is a significant risk the jury would be confused that the deals between
  Plaintiff and Puma, Tiffany & Co., and Caliva show that Defendants must follow similar terms
  for their uses of Mr. Mannion’s photographs. There is also a significant risk the jury would be
  misled that the fees Plaintiff received from the deals have any bearing on potential damages in
  this lawsuit.

  Defendants will move for an order to exclude all documentary evidence, testimony, and
  argument regarding deals between Plaintiff and Puma, Tiffany & Co., and Caliva
  (CARTER0004372, CARTER0004400, CARTER0004436, and all other versions of these
  documents).

             7.   Defendants’ Deals With Aaliyah and DMX

  Deals between Defendants and representatives of the estates of Aaliyah and DMX, including any
  cease-and-desist letter(s) that preceded the deals, are not relevant and not admissible. See Fed. R.
  Evid. 401, 402. Other subjects of Mr. Mannion’s photographs are not parties to this lawsuit, and
  the unproven allegations in any cease-and-desist letters have no bearing on Defendants’ alleged
  actions and omissions here.

  Further, the probative value, if any, of these deals with the estates of Aaliyah and DMX is
  substantially outweighed by the dangers of confusing the issues, misleading the jury, and causing




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  unfair prejudice to Defendants. See Fed. R. Evid. 403. There is a significant risk that the jury
  would view unproven allegations in cease-and-desist letters from the estates’ representatives as
  evidence that Defendants have violated others’ rights of publicity in the past. There is also a
  significant risk the jury would view terms to which Defendants and those estates agreed upon to
  settle the disputes and to develop their business relationships as legal requirements that
  Defendants must follow as to all subjects of Mr. Mannion’s photographs, including Plaintiff.

  Defendants will move for an order to exclude all documentary evidence, testimony, and
  argument regarding deals between Defendants and representatives of the estates of Aaliyah and
  DMX, including any cease-and-desist letters from the representatives that preceded to the deals.

             8.   Defendants’ Internal Communications Reacting to Plaintiff’s Initiation of
                  This Lawsuit

  Communications between Mr. Mannion and the employees of Jonathan Mannion Photography
  using curse words or other strong language in reacting to the filing of this litigation are not
  relevant and not admissible. See Fed. R. Evid. 401, 402. Their emotional reactions to the filing of
  the lawsuit have nothing to do with the claims or defenses in this case.

  Furthermore, the probative value, if any, of these communications is substantially outweighed by
  the dangers of misleading the jury and causing unfair prejudice to Defendants. See Fed. R. Evid.
  403. The internal communications among colleagues sometimes included strong language in
  reference to this litigation and to Plaintiff. There is a significant risk that the communications can
  be improperly used to portray Defendants in an unflattering light.

  Defendants will move for an order to exclude all documentary evidence, testimony, and
  argument regarding such internal communications (MANNION010940, MANNION010720, and
  any similar documents).

                                                  ***

  Under Paragraph II.B.3 of the CTSO, the Local Rule 7-3 conference regarding Defendants’
  anticipated motions in limine must take place within seven days of service of this letter. Please
  let us know your availability during the week of May 16, as soon as possible.

  Very truly yours,




  Paul J. Loh




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                         Exhibit C
 Excerpts from the February 25, 2022 Deposition of
                  Jeffrey Kempler
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 36 of 88 Page ID #:6035
                                   CONFIDENTIAL

  1                   UNITED STATES DISTRICT COURT
  2                  CENTRAL DISTRICT OF CALIFORNIA
  3
   4


   5     SHAWN CARTER, also known as
         JAY-Z, an individual,
  6
                     Plaintiff,
   7                                             Case No. 2:21-cv-04848-PA-KS
               vs.
   8

         JONATHAN MANNION, an
   9     individual, and JONATHAN
         MANNION PHOTOGRAPHY LLC, a
 10      New York limited liability
         company,
 11
                     Defendants.
 12
 13
 14
 15                         * CONFIDENTIAL **
 16                  REMOTE VIDEOTAPED DEPOSITION OF
 17                          JEFFREY B. KEMPLER
 18                      Friday, February 25, 2022
 19                                Volume I
 20
 21      Reported by:
         NADIA NEWHART
 22      CSR No. 8714
 23      Job No. 5072181
 24      PAGES 1 - 117
 25

                                                                      Page 1

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                                        866 299-5127
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                                   CONFIDENTIAL

  1      then, you know, looking at the documents that you've

  2      shown me, sort of a tick-the-box menu of what rights

   3     are being acquired, so a pretty simplistic approach

   4     without a lot of bespoke negotiation.

   5        Q    Could you look at Exhibit 3, please.             It's      03:51:44

  6      already on the Exhibit Share.

   7        A    Okay.     Let me go back.

   8             Got it.    Okay.

  9         Q    And let me ask you, would it have been

 10      against the general practice of Island Def Jam to                  03:51:58

 11      have no written agreement at all with a photographer

 12      hired to take photos of a recording artist?

 13         A    Yeah.     That -- that would have been an

 14      that would have been a poorly received anomaly.

 15         Q    If I can draw your attention to paragraph 6                03:52:14

 16      on the second page, the last typewritten sentence in

 17      paragraph 6 I will read into the record.              It says

 18       (as read) :

 19              "If pursuant to this purchase order,

 20              you retain certain rights, you may                         03:52:30

 21              not exercise any such rights without

 22              the specific written approval of the

 23              recording artist involved."

 24              Is that the type of provision that you, as a

 25      general practice at Island Def Jam, would have been                03:52:47

                                                                         Page 101

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Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 38 of 88 Page ID #:6037
                                   CONFIDENTIAL

  1
  2
  3
  4
  5                  I, JEFFREY B. KEMPLER, do hereby declare
  6      under penalty of perjury that I have read the
  7      foregoing transcript; that I have made any
  8      corrections as appear noted, in ink, initialed by
  9      me, or attached hereto; that my testimony as
 10      contained herein, as corrected, is true and correct.
 11                  EXECUTED this                day of
 12      20 -- t at
                                    (City)                       (State)
 13
 14
 15
 16
                                      JEFFREY B. KEMPLER
 17                                        Volume I
 18
 19
 20
 21
 22
 23
 24
 25

                                                                 Page 113

                                 Veritext Legal Solutions
                                      866 299-5127
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                                   CONFIDENTIAL

  1                  I, the undersigned, a Certified Shorthand
  2      Reporter of the State of California, do hereby
  3      certify:
  4             That the foregoing proceedings were taken
  5      before me at the time and place herein set forth;
  6      that any witnesses in the foregoing proceedings,
  7      prior to testifying, were administered an oath; that
  8      a record of the proceedings was made by me using
  9      machine shorthand which was thereafter transcribed
 10      under my direction; that the foregoing transcript is
 11      a true record of the testimony given.
 12             Further, that if the foregoing pertains to the
 13      original transcript of a deposition in a Federal
 14      Case, before completion of the proceedings, review
 15      of the transcript [X] was [] was not requested.
 16             I further certify that I am neither financially
 17      interested in the action nor a relative or employee
 18      of any attorney or any party to this action.
 19          IN WITNESS WHEREOF, I have this date subscribed
 20      my name.
 21

 22      Dated: March 2, 2022


        flah /Juvliad
 23
 24

         NADIA NEWHART
 25      CSR NO. 8714

                                                                 Page 114

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                                      866 299-5127
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                         Exhibit D
   Excerpts from the March 14, 2022 Deposition of
                    Desiree Perez
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 41 of 88 Page ID #:6040
                                   CONFIDENTIAL

  1                           UNITED STATES DISTRICT COURT
  2                          CENTRAL DISTRICT OF CALIFORNIA
  3
  4           SHAWN CARTER, also known as
              JAY-Z, an individual,
  5
                                   Plaintiff,
  6                vs.                               No. 2:21-cv-04848-PA-KS
  7           JONATHAN MANNION, an individual,
              and JONATHAN MANNION, an
  8           individual, and JONATHAN MANNION
              PHOTOGRAPHY LLC, a New York
  9           limited liability company,
 10                                Defendants.
              _______________ !
 11
 12                              *** CONFIDENTIAL ***
 13                      VIDEOTAPED DEPOSITION OF DESIREE PEREZ
 14           individually and as Rule 30(b) (6) representative of
 15           Roe Nation LLC, Roe Nation Advertising LLC, Roe
 16           Nation Management LLC, Roe Nation Publishing LLC,
 17           Roe Nation Sports LLC, and S. Carter Enterprises LLC
 18
 19                  appearing remotely at New York, New York
 20                              Monday, March 14, 2022
 21
 22
 23           Reported by:
              Natalie Y. Botelho
 24           CSR No. 9897
 25           Job No. 5100642

                                                                    Page 1

                                  Veritext Legal Solutions
                                       866 299-5127
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                                   CONFIDENTIAL

   1     he was doing, Biggs.                                             13:00:56

   2     Q.          Okay.     And that's fair.     I just want -- I      13:00:59

   3     would like to just gain an understanding of your                 13:01:01

   4     understanding.      And I appreciate what you're doing.          13:01:04

   5     Okay.    And so to your understanding, items or photos           13:01:06

   6     bearing Mr. Carter's image from the Reasonable Doubt             13:01:13

   7     shoot were being sold at the Apartment 4B show?                  13:01:17

   8     A.          I mean,    I don't -- I don't, like, know            13:01:21

   9     that, but I wouldn't be surprised if it was.            Like I   13:01:24

  10     think -- I think Biggs was -- it was a commercial                13:01:28

  11     moment for Biggs.       I think Biggs was trying to make         13:01:30

  12     money.                                                           13:01:34

  13     Q.         And your understanding was that Mr. Carter            13:01:35

  14     approved of Mr. Burke selling photos from the                    13:01:37

  15     Reasonable Doubt shoot of Mr. Carter at the                      13:01:43

  16     Apartment 4B show?                                               13:01:46

  17     A.          I -- Jay definitely approved for Biggs to            13:01:48

  18     do whatever Biggs was doing, yes.                                13:01:53

  19     Q.         And including what he was doing at the                13:01:56

  20     Apartment 4B show, correct?                                      13:01:58

  21     A.          Yeah.     Whatever he was doing, we were             13:01:59

  22     I'm referencing what you're asking me, which is the              13:02:01

  23     Apartment 4B show.                                               13:02:06

  24     Q.          Okay.     And that -- did you have an                13:02:08

  25     understanding that at the Apartment 4B show, there               13:02:10

                                                                          Page 122

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                                           866 299-5127
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 43 of 88 Page ID #:6042
                                   CONFIDENTIAL

  1                     I, DESIREE PEREZ, do hereby declare under
  2      penalty of perjury that I have read the foregoing
  3      transcript; that I have made any corrections as
  4      appear noted, in ink, initialed by me, or attached
  5      hereto; that my testimony as contained herein, as
  6      corrected, is true and correct.
  7                     EXECUTED this                  day of
         ---------'

  8

         20    I   at
  9                       (City)                              (State)
 10
 11
 12
 13
 14
 15
 16                                Desiree Perez
 17
 18
 19
 20
 21
 22
 23
 24
 25

                                                                        Page 238
                                   Veritext Legal Solutions
                                        866 299-5127
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 44 of 88 Page ID #:6043
                                   CONFIDENTIAL

  1                         CERTIFICATE OF REPORTER
  2
  3                   I, Natalie Y. Botelho, a Certified
  4      Shorthand Reporter, hereby certify that the witness
  5      in the foregoing deposition was by me duly sworn to
  6      tell the truth, the whole truth, and nothing but the
  7      truth in the within-entitled.
  8                   The said deposition was taken down in
  9      shorthand by me, a disinterested person, at the time
 10      and place therein stated, and that the testimony of
 11      said witness was thereafter reduced to typewriting,
 12      by computer, under my direction and supervision;
 13                   That before completion of the deposition,
 14      review of the transcript [X] was I                 []   was not
 15      requested.      If requested, any changes made by the
 16      deponent (and provided to the reporter) during the
 17      period allowed are appended hereto.
 18                   I further certify that I am not of counsel
 19      or attorney for either or any of the parties to the
 20      said deposition, nor in any way interested in the
 21      event of this cause, and that I am not related to
 22      any of the parties thereto.
 23      DATED: March 17, 2022
 24


 25      Natalie Y. Botelho, CSR No. 9897

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                         Exhibit E
                        Intentionally Omitted
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 46 of 88 Page ID #:6045




                         Exhibit F
                         Joint Trial Exhibit 2
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 47 of 88 Page ID #:6046




                           UMG CONFIDENTIAL 000015
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 48 of 88 Page ID #:6047




                           UMG CONFIDENTIAL 000016
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 49 of 88 Page ID #:6048




                         Exhibit G
                         Joint Trial Exhibit 3
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 50 of 88 Page ID #:6049




                           UMG CONFIDENTIAL 000013
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 51 of 88 Page ID #:6050




                           UMG CONFIDENTIAL 000014
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 52 of 88 Page ID #:6051




                         Exhibit H
                         Joint Trial Exhibit 7
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 53 of 88 Page ID #:6052




                           UMG CONFIDENTIAL 000001
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 54 of 88 Page ID #:6053




                           UMG CONFIDENTIAL 000002
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 55 of 88 Page ID #:6054




                           UMG CONFIDENTIAL 000003
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 56 of 88 Page ID #:6055




                         Exhibit I
                         Joint Trial Exhibit 14
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 57 of 88 Page ID #:6056
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 58 of 88 Page ID #:6057
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 59 of 88 Page ID #:6058
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 60 of 88 Page ID #:6059
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 61 of 88 Page ID #:6060
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 62 of 88 Page ID #:6061
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 63 of 88 Page ID #:6062
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 64 of 88 Page ID #:6063
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 65 of 88 Page ID #:6064
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 66 of 88 Page ID #:6065
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 67 of 88 Page ID #:6066
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 68 of 88 Page ID #:6067
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 69 of 88 Page ID #:6068
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 70 of 88 Page ID #:6069
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Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 74 of 88 Page ID #:6073
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 75 of 88 Page ID #:6074
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 76 of 88 Page ID #:6075
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 77 of 88 Page ID #:6076




                         Exhibit J
                         Joint Trial Exhibit 91
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 78 of 88 Page ID #:6077
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 79 of 88 Page ID #:6078
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 80 of 88 Page ID #:6079
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 81 of 88 Page ID #:6080
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 82 of 88 Page ID #:6081
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 83 of 88 Page ID #:6082
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 84 of 88 Page ID #:6083




                         Exhibit K
    Excerpts from the March 4, 2022 Deposition of
                    Shawn Carter
Case 2:21-cv-04848-PA-KS Document 159 Filed 06/17/22 Page 85 of 88 Page ID #:6084
                                   CONFIDENTIAL

  1                    UNITED STATES DISTRICT COURT
  2                  CENTRAL DISTRICT OF CALIFORNIA
   3
   4


   5     SHAWN CARTER, also known as
         JAY-Z, an individual,
   6
                     Plaintiff,
   7                                             Case No. 2:21-cv-04848-PA-KS
               vs.
   8

         JONATHAN MANNION, an
   9     individual, and JONATHAN
         MANNION PHOTOGRAPHY LLC, a
 10      New York limited liability
         company,
 11
                     Defendants.
 12
 13
 14
 15                         ** CONFIDENTIAL **
 16                  REMOTE VIDEOTAPED DEPOSITION OF
 17                           SHAWN C. CARTER
 18                        Friday, March 4, 2022
 19                                Volume I
 20
 21
 22      Reported by:
         NADIA NEWHART
 23      CSR No. 8714
 24      Job No. 5107613
 25      PAGES 1 - 222

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                                        866 299-5127
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                                   CONFIDENTIAL

  1         Q    And you don't have any specific recollection

  2      of what you discussed with him during the

  3      photoshoot?

  4         A    I don't.

  5         Q    And you don't have any written documents that          09:20:15

  6      would contain notes of what you discussed with him?

  7         A    No.

  8         Q    How was Mr. Mannion paid for the -- for his

  9      work on the Reasonable Doubt photoshoot?

 10         A    I don't remember, but during those days, like          09:20:30

 11      I said, we always carried cash.         So he probably got

 12      paid in cash.      If I had to guess, he probably got

 13      paid in cash.

 14         Q    Do you have any reason to think he didn't get

 15      paid in cash?                                                  09:20:44

 16         A    I don't.

 17         Q    Do you recall him signing any contracts for

 18      his work on the photoshoot?

 19         A    I don't.

 20         Q    Can you identify any contract that would               09:20:56

 21      memorialize the agreement with Mr. Mannion with

 22      respect to his work on the photoshoot?

 23         A    I can't.

 24         Q    When Mr. Mannion took the photograph of you

 25      during the photoshoot, was he an employee of                   09:21:18

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  1
  2
  3
  4                  I, SHAWN C. CARTER, do hereby declare under
  5      penalty of perjury that I have read the foregoing
  6      transcript; that I have made any corrections as
  7      appear noted, in ink, initialed by me, or attached
  8      hereto; that my testimony as contained herein, as
  9      corrected, is true and correct.
 10                  EXECUTED this                day of
 11      20 -- t at
                                    (City)                       (State)
 12
 13
 14
 15
                           SHAWN C. CARTER
 16                        Volume I
 17
 18
 19
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  1                  I, the undersigned, a Certified Shorthand
  2      Reporter of the State of California, do hereby
  3      certify:
  4             That the foregoing proceedings were taken
  5      before me at the time and place herein set forth;
  6      that any witnesses in the foregoing proceedings,
  7      prior to testifying, were administered an oath; that
  8      a record of the proceedings was made by me using
  9      machine shorthand which was thereafter transcribed
 10      under my direction; that the foregoing transcript is
 11      a true record of the testimony given.
 12           Further, that if the foregoing pertains to the
 13      original transcript of a deposition in a Federal
 14      Case, before completion of the proceedings, review
 15      of the transcript [] was [] was not requested.
 16             I further certify that I am neither financially
 17      interested in the action nor a relative or employee
 18      of any attorney or any party to this action.
 19          IN WITNESS WHEREOF, I have this date subscribed
 20      my name.
 21

 22      Dated: March 5, 2022
 23
 24

                  NADIA NEWHART
 25               CSR NO. 8714

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